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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                           MIDLAND DIVISION

SCOTT W. HART, on behalf of himself §          NO. 7:15-CV-225-DAE
and all others similarly situated   §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §
                                    §
SWAGGIN WAGON, INC., BRAD           §
PARSON, and RICKEY STANLEY, §
                                    §
      Defendants.                   §

                                 DISMISSAL ORDER

             Before the Court is a Notice of Voluntary Dismissal filed by Scott W.

Hart (“Plaintiff”) on January 12, 2016. (Dkt. # 6.)

             Under the Federal Rules of Civil Procedure, a plaintiff “may dismiss

an action without a court order by filing a notice of dismissal before the opposing

party serves either an answer or a motion for summary judgment.” Fed. R. Civ.

P. 41(a)(1)(A)(i). This dismissal should be without prejudice, unless “the plaintiff

previously dismissed any federal- or state-court action based on or including the

same claim.” Id. at (a)(1)(B).

             Swaggin Wagon, Inc., Brad Parson, and Rickey Stanley (collectively,

“Defendants”) have not served an answer to Plaintiff’s complaint, and have not

served a motion for summary judgment. The Court is not aware of any instance
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where the Plaintiff previously dismissed a court action based on the claims alleged

in his complaint. (Dkt. # 1.) Accordingly, dismissal pursuant to Federal Rule of

Civil Procedure 41(a) is appropriate.

            The Court hereby ORDERS the instant suit be DISMISSED

WITHOUT PREJUDICE as to all Defendants.

             IT IS SO ORDERED.

             DATED: Midland, Texas, January 13, 2016




                                              _____________________________________
                                              David Alan Ezra
                                              Senior United States Distict Judge
